UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:                                                           Case No.: 2−20−20230−PRW
                                                                 Chapter: 11
         Rochester Drug Cooperative, Inc.
                                                                 Tax ID: 16−0729574
                         Debtor(s)


                                            DEFICIENCY NOTICE
Docket # 1909 − Omnibus Motion Objecting to Claim(s). Claim(s) filed by Names are listed on Exhibit A.
         Liquidating Trustees Twenty−First Omnibus Objection (Books and Records) to Claims Filed Against
         Rochester Drug Co−Operative, Inc. by Finson Law Firm (Attachments: # 1 Exhibit A − Disputed
         Claims Subject to Objection # 2 Exhibit B − Proposed Order) Filed on behalf of Liquidator Advisory
         Trust Group, LLC, solely in its capacity as Liquidating Trustee of the RDC Liquidating Trust (Elkin,
         Judith)

            1911 − Omnibus Motion Objecting to Claim(s). Claim(s) filed by Names are listed on Exhibit A.
            Liquidating Trustees Fourteenth Omnibus Objection (Books and Records) to Claims Filed Against
            Rochester Drug Co−Operative, Inc. by Finson Law Firm (Attachments: # 1 Exhibit A − Disputed
            Claims # 2 Exhibit B − Proposed Order) Filed on behalf of Liquidator Advisory Trust Group, LLC,
            solely in its capacity as Liquidating Trustee of the RDC Liquidating Trust (Scharf, Ilan)

            1920 − Omnibus Motion Objecting to Claim(s). Claim(s) filed by Names are listed on Exhibit A.
            Liquidating Trustees Fifteenth Omnibus Objection (Books and Records) to Claims Filed Against
            Rochester Drug Co−Operative, Inc. by Finson Law Firm (Attachments: # 1 Exhibit A − Disputed
            Claims # 2 Exhibit B − Proposed Order) Filed on behalf of Liquidator Advisory Trust Group, LLC,
            solely in its capacity as Liquidating Trustee of the RDC Liquidating Trust (Scharf, Ilan)

            1921 − Omnibus Motion Objecting to Claim(s). Claim(s) filed by Names are listed on Exhibit A.
            Liquidating Trustees Twentieth Omnibus Objection (Books and Records) to Claims Filed Against
            Rochester Drug Co−Operative, Inc. by Finson Law Firm (Attachments: # 1 Exhibit A − Disputed
            Claims Subject to Objection # 2 Exhibit B − Proposed Order) Filed on behalf of Liquidator Advisory
            Trust Group, LLC, solely in its capacity as Liquidating Trustee of the RDC Liquidating Trust (Elkin,
            Judith)

            1930 − Omnibus Motion Objecting to Claim(s). Claim(s) filed by Names are listed on Exhibit A.
            Liquidating Trustees Nineteenth Omnibus Objection (Books and Records) to Claims Filed Against
            Rochester Drug Co−Operative, Inc. by Finson Law Firm (Attachments: # 1 Exhibit A − Disputed
            Claims Subject to Objection # 2 Exhibit B Proposed Order) Filed on behalf of Liquidator Advisory
            Trust Group, LLC, solely in its capacity as Liquidating Trustee of the RDC Liquidating Trust (Elkin,
            Judith)

            1931 − Omnibus Motion Objecting to Claim(s). Claim(s) filed by Names are listed on Exhibit A.
            Liquidating Trustees Sixteenth Omnibus Objection (Books and Records) to Claims Filed Against
            Rochester Drug Co−Operative, Inc. by Finson Law Firm (Attachments: # 1 Exhibit A − Disputed
            Claims # 2 Exhibit B − Proposed Order) Filed on behalf of Liquidator Advisory Trust Group, LLC,
            solely in its capacity as Liquidating Trustee of the RDC Liquidating Trust (Scharf, Ilan)

            1940 − Omnibus Motion Objecting to Claim(s). Claim(s) filed by Names are listed on Exhibit A.
            Liquidating Trustees Eighteenth Omnibus Objection (Books and Records) to Claims Filed Against
            Rochester Drug Co−Operative, Inc. by Finson Law Firm (Attachments: # 1 Exhibit A − Disputed
            Claims Subject to Objection # 2 Exhibit B Proposed Order) Filed on behalf of Liquidator Advisory
            Trust Group, LLC, solely in its capacity as Liquidating Trustee of the RDC Liquidating Trust (Elkin,
            Judith)

PLEASE TAKE NOTICE that the document(s) above contains deficiencies:

[   ] Remove ALL reference to a telephonic hearing and include the complete and correct hearing location.
[   ] Supplemental 2016(b) statement must be filed if professional fees are requested.
         Case 2-20-20230-PRW, Doc 1987, Filed 03/30/23, Entered 03/30/23 11:34:20,
                          Description: Deficiency MOTION, Page 1 of 2
[   ] The caption on the document(s) filed does not match the case caption in CM/ECF.
[   ] Cover Sheet:
[   ] Motion/Notice of Motion:
[   ] Notice of Motion: Incorrect Hearing [   ] DATE; [   ] TIME; [   ] LOCATION.
[   ] Certificate of service:
[ X ] Proposed Order: The proposed Orders do not have Exhibit A attached. Please file a revised proposed
      Order to attach Exhibit A.
[   ] Other:

ADDITIONAL INFORMATION: Please consult the Court's website for available hearing dates. Motion Practice
and Scheduling Guidelines can be found on the Court's website at: www.nywb.uscourts.gov
[ X ] This motion WILL be considered by the Court.
[ ] To efile, Bankruptcy > Motions > AMENDED MOTION. Link back to the original motion.
[ X ] To efile, Bankruptcy > Other > Proposed Order.

*Questions regarding this notice should be directed to the Rochester Clerk's Office at 585−613−4200.

    Date: March 30, 2023                      Lisa Bertino Beaser, Clerk of the Bankruptcy Court
                                              By: L. Lawson, Deputy Clerk
Form defymtn/Doc 1987
www.nywb.uscourts.gov




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                         Description: Deficiency MOTION, Page 2 of 2
